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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,


                                                                  23-cv-00882-CJN *SEALED*
                Plaintiff,

        v.                                                      Civil Action No. _______

 ALL PETROLEUM-PRODUCT CARGO
 ABOARD THE SUEZ RAJAN WITH
 INTERNATIONAL MARITIME NUMBER
 9524475

                Defendant.



                             WARRANT FOR ARREST IN REM


TO: THE UNITED STATES MARSHAL=S SERVICE AND/OR ANY OTHER DULY
AUTHORIZED LAW ENFORCEMENT OFFICER:

        WHEREAS a Verified Complaint for Forfeiture In Rem has been filed in the United States
District Court for the District of Columbia, on the 30th day of March, 2023, alleging that the above
defendant property are subject to seizure and forfeiture to the United States pursuant to 18 U.S.C.
§ 981(a)(1)(G)(i);

        YOU ARE, THEREFORE, HEREBY COMMANDED to serve the defendant property,
thus bringing, within the jurisdiction of the Court, said defendant properties, more fully described
as:

     ALL PETROLEUM-PRODUCT CARGO ABOARD THE SUEZ RAJAN WITH
              INTERNATIONAL MARITIME NUMBER 9524475


       YOU ARE FURTHER COMMANDED, promptly after execution of this process, to file
the same in this Court with your return thereon, identifying the individuals upon whom copies
were served and the manner employed, unless, pursuant to Rule G(3)(c)(ii)(A) of the Supplemental

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Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, the defendant properties
are in the government's possession, custody, or control.

       04/10/2023
Dated: ______________


                                          ANGELA D. CAESAR
                                          ___________________________
                                          Clerk of the Court



                                   By:    /s/ Simone Logan
                                          ___________________________
                                          Deputy Clerk




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